70 F.3d 1261
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerry L. GENT, Plaintiff-Appellant,v.CLIENT CENTERED LEGAL SERVICES, INCORPORATED, Defendant-Appellee.
    No. 95-2311.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Nov. 22, 1995.
    
      Appeal from the United States District Court for the Western District of Virginia, at Abingdon.  James C. Turk, District Judge.  (CA-95-113-A)
      Jerry L. Gent, Appellant Pro Se.  Gerald L. Gray, Clintwood, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Gent v. Client Centered legal Services, No. CA-95-113-A (W.D.Va. June 16, 1995).  Further, we deny Appellant's discovery request.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    